          Case 1:12-cv-00652-MCW Document 6 Filed 11/30/12 Page 1 of 1




      In The United States Court of Federal Claims
                                           No. 12-652C

                                     (Filed: November 30, 2012)
                                             __________

 RAMONA INVESTMENT GROUP II,
 A CALIFORNIA LIMITED
 PARTNERSHIP,

                        Plaintiff,

         v.

 THE UNITED STATES,

                        Defendant.

                                            __________

                                             ORDER
                                            __________

        On September 28, 2012, plaintiff filed its complaint in this matter. Defendant’s response
to the complaint was due on or before November 29, 2012. No response has been filed. On or
before December 7, 2012, defendant shall file a response to the complaint, along with a motion
for leave to file such response out of time. In its motion for leave to file out of time, defendant’s
counsel shall certify that it has complied with the provisions of section 7(a)(ii) of this court’s
special procedures order (Dkt. No. 5). If defendant fails to file a response to the complaint on or
before December 7, 2012, the court will issue a general denial.

       IT IS SO ORDERED.



                                                      s/ Francis M. Allegra
                                                      Francis M. Allegra
                                                      Judge
